[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION
General Statutes § 47a-23 (c) requires that a notice to quit in a summary process action be "delivered to each lessee or occupant or left at his place of residence or, if the rental agreement or lease concerns commercial property, at the place of the commercial establishment by a proper officer or indifferent person."
The sheriff's original return of service of the notice to quit in this summary process action, which does not concern commercial property, reflects that abode service was made on the defendant at a place that was not his residence. The action was returnable to this court on April 24, 1998. On May 1, 1998, the defendant moved to dismiss based on this defect. On the day the motion came before this court, the plaintiff filed an amended return of the sheriff, showing that in-hand service of the notice to quit had been made on the defendant. The defendant objected to the consideration of this amended return. The plaintiff did not seek a continuance to meet this objection.
The filing of such amended returns by sheriffs is not uncommon. See, e.g., Shadmar, Inc. v. Alter, Superior Court, judicial district of Hartford, New Britain No. 54526 (16 Conn. L. Rptr. 612) (May 3, 1996). Whether to allow the filing of an amended return, even long after an action has been returned to court, is in the discretion of the court. Palmer v. Taylor,28 Conn. 237, 242-244 (1859). In the absence of a showing of prejudice or that the sheriff's amended return is inaccurate, the court exercises its discretion to allow the amended return.
The motion to dismiss is denied.
BY THE COURT
Bruce L. LevinJudge of the Superior Court